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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

___________________________________
                                    )
UNITED STATES OF AMERICA,           )
                                    )               CRIMINAL CASE NO.: 21-cr-190-DLF
      v.                            )
                                    )
ZACHARY JORDAN ALAM,                )
                                    )
                  Defendant.        )
___________________________________ )


                                 NOTICE OF APPEARANCE


       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, informs the Court that in the above-captioned matter, Assistant U.S.

Attorney Joseph S. Smith, Jr. hereby enters his appearance, in addition to Assistant U.S. Attorney

Rebekah Lederer, as an attorney for the Government.



                                             MATTHEW M. GRAVES
                                             UNITED STATES ATTORNEY
                                             D.C. Bar No. 481052

                                     By:     s/ Joseph S. Smith, Jr.
                                             Joseph S. Smith, Jr.
                                             CA Bar No. 200108
                                             Assistant U.S. Attorney
                                             601 D Street, N.W.
                                             Washington, D.C. 20530
                                             (619) 546-8299
                                             joseph.s.smith@usdoj.gov
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                                CERTIFICATE OF SERVICE

       On this 25th day of April, 2023, a copy of the foregoing was served upon all parties listed
on the Electronic Case Filing (ECF) System.

                                             /s/ Joseph S. Smith, Jr.
                                             JOSEPH S. SMITH, JR.
                                             Assistant U.S. Attorney
